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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

CENTAURO LIQUID OPPORTUNITY
MASTER FUND, L.P.,

                 Plaintiff,

        -v-                                                    No. 15 CV 9003-LTS-SN

ALESSANDRO BAZZONI, et al.,

                 Defendants.

-------------------------------------------------------x

                                                     ORDER

                 In light of the pending motion(s), the final pre-trial conference in the above-

captioned case, previously scheduled for March 1, 2019, is hereby adjourned to June 21, 2019, at

12:00 p.m.



        SO ORDERED.

Dated: New York, New York
       February 21, 2019

                                                                /s/ Laura Taylor Swain
                                                               LAURA TAYLOR SWAIN
                                                               United States District Judge
